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 3   916.438.7711 FAX 916.864.1359
 4   Attorney for Defendant
     BERNARDO LAREDO
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. 2:10-CR-0299 EJG
11                                 Plaintiff,            STIPULATION AND ORDER TO
                                                         CONTINUE STATUS CONFERENCE,
12          vs.                                          AND TO EXCLUDE TIME PURSUANT
                                                         TO THE SPEEDY TRIAL ACT
13   BERNARDO LAREDO, et al.,
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Daniel McConkie, Assistant United States Attorney, attorney for plaintiff;
18   Michael Hansen, attorney for defendant Bernardo Laredo; David Fischer, attorney for
19   defendant Francisco Pulido; Danny D. Brace, Jr., attorney for defendant Brenda Deshields;
20   Dina Santos, attorney for defendant Mara Stiles; Tom Johnson, attorney for defendant Charles
21   Davies; William Bonham, attorney for defendant Scott Peterson; and Toni Carbone, attorney
22   for defendant Angela Boschke; that the previously-scheduled status conference date of
23   February 25, 2011, be vacated and the matter set for status conference on April 22, 2011.
24          This continuance is requested to allow counsel additional time to review discovery with
25   the defendants, to examine possible defenses and to continue investigating the facts of the case.
26          Accordingly, counsel and the defendants agree that time under the Speedy Trial Act
27   from the date this stipulation is lodged, through April 22, 2011, should be excluded in
28   computing time within which trial must commence under the Speedy Trial Act, pursuant to


                                                     1
     Stipulation and [Proposed] Order to Continue Status Conference
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 1   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense
 2   counsel to prepare].
 3   Dated: February 23, 2011                           Respectfully submitted,
 4
                                                        /s/ Michael E. Hansen
 5                                                      MICHAEL E. HANSEN
                                                        Attorney for Defendant
 6                                                      BERNARDO LAREDO
 7   Dated: February 23, 2011                           /s/ Michael E. Hansen for
                                                        DAVID FISCHER
 8                                                      Attorney for Defendant
                                                        FRANCISCO PULIDO
 9
     Dated: February 23, 2011                           /s/ Michael E. Hansen for
10                                                      DANNY D. BRACE, JR.
                                                        Attorney for Defendant
11                                                      BRENDA DESHIELDS
12   Dated: February 23, 2011                           /s/ Michael E. Hansen for
                                                        DINA SANTOS
13                                                      Attorney for Defendant MARA STILES
14   Dated: February 23, 2011                           /s/ Michael E. Hansen for
                                                        TOM JOHNSON
15                                                      Attorney for Defendant
                                                        CHARLES DAVIES
16
     Dated: February 23, 2011                           /s/ Michael E. Hansen for
17                                                      WILLIAM BONHAM
                                                        Attorney for Defendant
18                                                      SCOTT PETERSON
19   Dated: February 23, 2011                           /s/ Michael E. Hansen for
                                                        TONI CARBONE
20                                                      Attorney for Defendant
                                                        ANGELA BOSCHKE
21
     Dated: February 23, 2011                           U.S. ATTORNEY’S OFFICE
22
23                                                      /s/ Michael E. Hansen for
                                                        DANIEL McCONKIE
24                                                      Assistant U.S. Attorney
                                                        Attorney for Plaintiff
25
26                                             ORDER
27          IT IS HEREBY ORDERED that the previously-scheduled status conference date of
28   January 14, 2011, be vacated and the matter set for status conference on April 22, 2011. Time


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 1   is excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and
 2   Local Code T4.
 3   Dated: February 23, 2011                       /s/ Edward J. Garcia
                                  __________________________________
 4                                                  EDWARD J. GARCIA
                                                    United States District Judge
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     Stipulation and [Proposed] Order to Continue Status Conference
